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                      APPRAISAL REPORT
                                       of



                              3960 SE 115TH STREET

                            BELLEVIEW, FL 34420-4826




                                     As Of:
                                    10/02/2017




                                Prepared For:

                              QUICKEN LOANS, INC.
                              1050 WOODWARD AVE
                                DETROIT, MI 48226




                                 Prepared By:
                        TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                  P.O. BOX 4338
                                 OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 2 of 23 PageID 223


                      APPRAISAL REPORT
                                        of



                             8973 SW 94TH LANE UNIT B


                                OCALA, FL 34481-7442




                                     As Of:

                                     10/03/2017




                                Prepared For:

                                  REGIONS BANK
                            215 FORREST ST 6TH FLOOR
                              HATTIESBURG, MS 39401




                                 Prepared By:

                         TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                   P.O. BOX 4338
                                  OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 3 of 23 PageID 224


                      APPRAISAL REPORT
                                        of



                                6426 SE 41ST COURT


                                OCALA, FL 34480-7725




                                     As Of:

                                     09/27/2017




                                Prepared For:

                                     TD BANK
                                12000 HORIZON WAY
                              MOUNT LAUREL, NJ 08054




                                 Prepared By:

                         TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                   P.O. BOX 4338
                                  OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 4 of 23 PageID 225


                      APPRAISAL REPORT
                                       of



                              6201 NW 110TH STREET

                                REDDICK, FL 32686




                                     As Of:
                                    10/18/2017




                                Prepared For:

                                   RBC BANK N.A
                       8081 ARCO CORPORATE DRIVE SUITE 400
                                 RALEIGH, NC 27617




                                 Prepared By:
                        TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                  P.O. BOX 4338
                                 OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 5 of 23 PageID 226


                      APPRAISAL REPORT
                                       of



                               3370 SE 2ND AVENUE

                               OCALA, FL 34471-5160




                                     As Of:
                                    11/08/2018




                                Prepared For:

                            AUTO-OWNERS INSURANCE
                                 PO BOX 30660
                             LANSING , MI 48909-8160




                                 Prepared By:
                        TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                   P.O. Box 4338
                                  Ocala, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 6 of 23 PageID 227


                      APPRAISAL REPORT
                                        of

                                  Land Property at

                              10010 N OCEAN DRIVE

                            CITRUS SPRINGS, FL 34473




                                     As Of:
                                    10/25/2017




                                Prepared For:
                                    No AMC
                            WHITNEY/HANCOCK BANK
                               2510 14TH STREET
                             GULFPORT, MS 39501




                                 Prepared By:
                        TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                  P.O. BOX 4338
                                 OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 7 of 23 PageID 228


                      APPRAISAL REPORT
                                        of



                              10285 SW 87TH TERRACE


                                OCALA, FL 34481-9500




                                     As Of:

                                     11/06/2017




                                Prepared For:

                         REO MANAGEMENT SOLUTIONS, LLC
                               5222 CYPRESS CREEK
                                HOUSTON, TX 77069




                                 Prepared By:

                         TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                   P.O. BOX 4338
                                  OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 8 of 23 PageID 229


                      APPRAISAL REPORT
                                        of



                              9198 SE 48TH COURT RD


                                  OCALA, FL 34480




                                     As Of:

                                     11/24/2017




                                Prepared For:

                                 SOUTHWEST BANK
                         4100 INTERNATIONAL PLAZA STE 110
                               FORT WORTH, TX 76109




                                 Prepared By:

                         TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                   P.O. BOX 4338
                                  OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 9 of 23 PageID 230


                      APPRAISAL REPORT
                                        of



                                 4451 NW 130TH AVE


                                OCALA, FL 34482-1715




                                     As Of:

                                     11/27/2017




                                Prepared For:

                              GOLDWATER BANK, N.A.
                                5690 DTC BLVD #100
                          GREENWOOD VILLAGE, CO 80111




                                 Prepared By:

                         TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                   P.O. BOX 4338
                                  OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 10 of 23 PageID 231


                       APPRAISAL REPORT
                                         of



                                  4712 NE 20TH AVE


                                 OCALA, FL 34479-2036




                                      As Of:

                                      12/08/2017




                                 Prepared For:

                           NATIONS RELIABLE LENDING, LLC
                            2506 W. MAIN STREET SUITE 400
                                 HOUSTON, TX 77098




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 11 of 23 PageID 232


                       APPRAISAL REPORT
                                         of



                                    5276 CR 125B-1


                              WILDWOOD, FL 34785-7963




                                      As Of:

                                      12/19/2017




                                 Prepared For:

                              SUNTRUST MORTGAGE, INC
                              901 SEMMES AVE MTG-1244
                                 RICHMOND, VA 23224




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 12 of 23 PageID 233


                       APPRAISAL REPORT
                                       of



                              10690 NE 104TH CIRCLE

                              OXFORD, FL 34484-3908




                                     As Of:
                                    01/29/2018




                                Prepared For:

                                 U.S. BANK, N.A.
                             200 SOUTH 6TH STREET
                             MINNEAPOLIS, MN 55402




                                 Prepared By:
                        TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                  P.O. BOX 4338
                                 OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 13 of 23 PageID 234


                       APPRAISAL REPORT
                                         of



                                   4611 NE 4TH AVE


                                 OCALA, FL 34479-1949




                                      As Of:

                                      02/09/2018




                                 Prepared For:

                                   FLAGSTAR BANK
                                 5151 CORPORATE DR
                                    TROY, MI 48098




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 14 of 23 PageID 235


                       APPRAISAL REPORT
                                         of



                                   9498 SE 140TH PL


                               SUMMERFIELD, FL 34491




                                      As Of:

                                      03/30/2018




                                 Prepared For:

                         SUCCESS MORTGAGE PARTNERS, INC.
                            1200 S. SHELDON RD SUITE 150
                                 PLYMOUTH, MI 48170




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 15 of 23 PageID 236


                       APPRAISAL REPORT
                                         of



                                  601 WILLIS AVENUE


                                 WILDWOOD, FL 34785




                                      As Of:

                                      05/01/2018




                                 Prepared For:

                           NATIONS RELIABLE LENDING, LLC
                            2506 W. MAIN STREET SUITE 400
                                 HOUSTON, TX 77098




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 16 of 23 PageID 237


                       APPRAISAL REPORT
                                       of



                              2550 SE 122ND COURT

                              MORRISTON, FL 32668




                                     As Of:
                                    04/30/2018




                                Prepared For:
                                     No AMC
                             E JOHN ANASTASI, ESQ.
                                245 MAIN STREET
                             OXFORD, MA 01540-2338




                                 Prepared By:
                        TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                   PO BOX 4338
                                 OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 17 of 23 PageID 238


                       APPRAISAL REPORT
                                         of



                               7868 SW 80TH PLACE RD


                                   OCALA, FL 34476




                                      As Of:

                                      05/08/2018




                                 Prepared For:

                                  RENASANT BANK
                          2001 PARK PLACE NORTH SUITE 650
                                BIRMINGHAM, AL 35203




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 18 of 23 PageID 239


                       APPRAISAL REPORT
                                         of



                               13650 NE 209TH TERRACE


                               FT MCCOY, FL 32134-5735




                                      As Of:

                                      05/15/2018




                                 Prepared For:

                         THIRD FEDERAL SAVINGS & LOAN ASSN.
                                 7007 BROADWAY AVE
                                CLEVELAND, OH 44105




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 19 of 23 PageID 240


                       APPRAISAL REPORT
                                         of



                                7840 N GIBRALTER DR


                              CITRUS SPRINGS, FL 34434




                                      As Of:

                                      05/22/2018




                                 Prepared For:

                           FORT COMMUNITY CREDIT UNION
                                800 MADISON AVENUE
                               FORT ATKINSON, WI 53538




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 20 of 23 PageID 241


                       APPRAISAL REPORT
                                         of



                                 9669 SE 17TH PL RD


                               SUMMERFIELD, FL 34491




                                      As Of:

                                      05/18/2018




                                 Prepared For:

                           LIVE WELL FINANCIAL, INC ISAOA
                         1011 BOULDER SPRINGS DR SUITE 420
                                 RICHMOND, VA 23225




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 21 of 23 PageID 242


                       APPRAISAL REPORT
                                         of



                                5200 SW 163RD AVENUE


                                   OCALA, FL 34481




                                      As Of:

                                      05/21/2018




                                 Prepared For:

                         RESOURCE FINANCIAL SERVICES, INC
                                 2717 DEVINE STREET
                                 COLUMBIA, SC 29205




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 22 of 23 PageID 243


                       APPRAISAL REPORT
                                       of



                              17186 SW 39TH CIRCLE

                                 OCALA, FL 34473




                                     As Of:
                                    05/29/2018




                                Prepared For:

                            BBVA COMPASS-CONSUMER
                                401 W. VALLEY AVE.
                              BIRMINGHAM, AL 35209




                                 Prepared By:
                        TODD L. BARFIELD, MAI, MRICS, CCIM
                           BARFIELD & ASSOCIATES, LLC
                                  P.O. BOX 4338
                                 OCALA, FL 34478
Case 5:18-cv-00483-PRL Document 17-1 Filed 01/29/19 Page 23 of 23 PageID 244


                       APPRAISAL REPORT
                                         of



                                 60 PINE TRACE LOOP


                                   OCALA, FL 34472




                                      As Of:

                                      05/18/2018




                                 Prepared For:

                                ASSET BASED LENDING
                               66 HUDSON ST SUITE 301
                            HOBOKEN NEW, JERSEY 07030




                                  Prepared By:

                          TODD L. BARFIELD, MAI, MRICS, CCIM
                            BARFIELD & ASSOCIATES, LLC
                                    P.O. BOX 4338
                                   OCALA, FL 34478
